Case 2:23-cv-00160-RWS Document 19-2 Filed 05/14/24 Page 1 of 81

Exhibit A
Case 2:23-cv-00160-RWS Document 19-2 Filed 05/14/24 Page 2 of 81

“Gus TOWN OF TALLULAH FALLS
~sottc, —\ POLICE DEPARTMENT

~. 3903 VOLUNTEER DR SUITE 400
_Onex® CHATTANOOGA, TN 37416

_GA
g ”
Registered Owner: L f°
/
THOMAS DANIEL CHASTAIN 04)? 5
797 MEADOW BROOK LN

RABUN GAP, GA 305682005

ON (DATE) AT TIME LOCATION OF VIOLATION AND SYSTEM
03/07/2023 2:44:18 pm SR15 SB 2
ISSUE DATE DUE DATE

03/25/2023 04/24/2023

NAME
THOMAS DANIEL CHASTAIN

STREET ADDRESS

797 MEADOW BROOK LN

CITY STATE ZIP CODE
RABUN GAP GA 305682005
VEHICLE YEAR VEHICLE MAKE

2021 JEEP

VEHICLE LICENSE PLATE NUMBER STATE
RWI9167 GA

Based upon inspection of photographically recorded images, the owner's motor vehicle
was operated in disregard or disobedience of the speed limit in the marked schoo! zone
and that such disregard or disobedience was not otherwise authorized by law.

IN VIOLATION OF: POSTED SPEED DETECTED SPEED
0.C.G.A, 40-14-18 56

lam a certified peace officer employed by a law enforcement agency authorized to
enforce the speed limit of the school zone, Based upon inspection of photographically
recorded images, the owner's motor vehicle was operated in disregard or disobedience
of the speed limit in the marked school zone and that such disregard or disobedience
was not authorized by law.

SWORN TO ORAFFIRMEDBY Signature Date(3/25/2023 Badge #
REVIEWING OFFICER z
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Elrod, Tonya 701

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NOTICE OF CITATION

Citation Number 73-10019461
Plate Number RWI19167

Notice of Citation Information
Due Date: 04/24/2023 Amount Due >> $100.00

5. ‘lease take notice that the vehicle described and pictured herein was photographed violating
2 “pul

blic safety by exceeding the speed limit in a school zone during times defined in 0.C.G.A
40-14-18. Therefore, under Georgia State Law and local ordinance, as the registered owner(s) or
lessee, you are liable for the Civil Monetary Penalty. If paid by the due date, the Civil Monetary
Penalty is $75.00 for first offense and $125.00 for subsequent offenses, plus a $25.00 Processing
Fee. This combined total for the Civil Monetary Penalty is $100.00. No points will be assessed
against your driver's license. Information about how to contest or file an affidavit to disclaim
liability is on the reverse. WARNING: Failure to pay the Civil Monetary Penalty or to contest in a
timely manner shall waive any right to contest liability. Please call 1-855-252-0086 regarding
payment.

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Case 2:23-cv-00160-RWS Document 19-2 Filed 05/14/24 Page 3 of 81

This citation is in accordance with Official Code of Georgia Annotated - 0.C.G.A 40-14-18: Liability under this Code section
shall be determined based upon a preponderance of the evidence. Prima-facie evidence that the vehicle described in the citation
issued pursuant to this Code section was operated in violation of the speed limit of the school zone, together with proof that the
defendant was, at the time of such violation, the registered owner of the vehicle, shall permit the trier of fact in its discretion to
infer that such owner of the vehicle was the driver of the vehicle at the time of the alleged violation

This citation is NOT considered a moving violation. Payment of the Civil Monetary Penalty amount of the violation will
NOT result in points and cannot be used to increase your insurance rates. This violation is deemed NONCRIMINAL and

will not be made a part of your operating record. Code Section 40-5-57.
WARNING: Failure to pay the Civil Monetary Penalty, or failure to contest liability within 60 days of the issue date listed
on the citation waives your right to contest. Failure to exercise one of the options prescribed in O.C.G.A 40-14-18 is deemed
to be an admission of liability and waiver of the opportunity to contest the violation.
Payment before the due date of this Citation will prevent this matter from further action.
If paid by the due date, the Civil Monetary Penalty is $75.00 for first offense and $125.00 for subsequent offenses, plus a
$25.00 Processing fee. (Please see front for exact amount)

If not paid within 30 days, a second notice will be issued. If not paid in 60 days, a final notice will be issued. If the Civil
Monetary Penalty is not paid within 90 days, it will be turned over to the Georgia Department of Revenue and will result
in the nonrenewal of this vehicle registration and will prohibit the title transfer of this vehicle within the state of Georgia.

For any questions please call 1-855-252-0086
VIEW YOUR IMAGES: You may view your images online at WWW.VIOLATIONPAYMENT.NET. You will need your Citation
Number and Plate Number printed on the front of this notice. In the event this matter is filed in an Administrative Hearing, the
recorded images will be prima facie evidence of the traffic law violation
ONLINE PAYMENT: You may pay your Citation online. Go to WWW.VIOLATIONPAYMENT.NET and logon with your Citation
Number and Plate Number shown in the red box on the front of this notice. Click the “Pay” button. See that a credit/debit card
transaction fee of $4.90 will be added.
PAYMENT BY PHONE: Call 9:00 AM - 5:00 PM Eastern Time, Monday - Friday at 1-855-252-0086. See that a credit/debit card
transaction fee of $4.90 will be added.
PAYMENT BY MAIL: Complete the bottom portion of the front side of this Citation. Add your check or money order made payable
to the Town of Tallulah Falls Police Department.

CONTESTING THE TICKET: 0O.C.G.A 40-14-18 You have the right to contest the Citation by timely requesting an administrative
hearing. Please be advised that court dates are scheduled approximately 60 days after the request is received. Failure to
contest liability within 60 days of the issue date listed on the citation waives your right to contest.

HOW TO CONTEST THE TICKET: Visit WWW.VIOLATIONPAYMENT.NET. Click on the “Contest Your Citation” button. Follow
the directions to print out the Administrative Hearing Request Form. Mail or fax the form to the location as specified on the form.
Once the Administrative Hearing Request form is received, a hearing date will be set and provided to you either by email or USPS
depending on the information provided. There is no fee to attend a hearing. If you do not have access to the internet or fax
machine, please call 1-855-252-0086.

RETURNED CHECKS (NSF): All returned checks will be charged a penalty of $25.00.
NOT DRIVING VEHICLE: 0.C.G.A 40-14-18(4)(A) If you were not driving the vehicle at the time of violation, in open court before

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Case 2:23-cv-00160-RWS Document 19-2 Filed 05/14/24 Page 4 of 81

Exhibit B
Case 2:23-cv-00160-RWS Document 19-2 Filed 05/14/24 Page5ofs

eet THOMAS D. CHASTAIN >
ms Ph 706-400-1102, 700-902 9599 ; S426 a
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"797 MEADOW BROOK LN 29 “f/f, [2 9 fy 3 we co.
RABUN GAP, GA 80568 f 7 Dats «= ACHECK ARMOR ay
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t
THOMAS DANIEL CHASTAIN
797 MEADOW BROOK LN
RABUN GAP, GA 305682005

[[] Please check box if address is incorrect or has changed, and indicate
change(s) above.

TALLULAH FALLS POLICE DEPARTMENT
PHOTO SPEED CITATION

PAYNIENT PROCESSING CENTER

3903 VOLUNTEER DR SUITE 400
CHATTANOOGA, TN 37416

For frequently asked questions and/ar to make a payment, please visit:
WWW.VIOLATIONPAYMENT.NET
Use your Citation Number and Plate Number to logon.

AGGEPTED CREDIT/DEBIT CARDS
$4.90 CHARGE ADDED TO ALL CREDIT/DEBIT CARD PAYMENTS.

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lf PAYING BY PHONE
Please call: 4-855-252-0086 TOL}. FREE
$4.90 CHARGE ADDED TO ALL CREDITIDEBIT CARD PAYMENTS.

if paying by check, please make check or money order payable to the
TOWN OF TALLULAH FALLS.
Do not mail cash or credit card information.
Enclose remittance sllp and check.

CITATION DATE
03/25/2023

PAY THIS AMOUNT CITATION #
$100.00 73-10019461

PAYBY: 04/24/2023 AMOUNT PAID $ es, © o

04 10019461 010000 01 5

Case 2:23-cv-00160-RWS Document 19-2 Filed 05/14/24 Page 6 of 81

Exhibit C
Case 2:23-cv-00160-RWS Document 19-2 Filed 05/14/24 Page 7 of 81

TOWN OF TALLULAH FALLS
POLICE DEPARTMENT

3903 VOLUNTEER DR SUITE 400
CHATTANOOGA, TN 37416

Registered Owner:

THOMAS DANIEL CHASTAIN
797 MEADOW BROOK LN
RABUN GAP, GA 305682005

ON (DATE) AT TINE LOCATION OF VIOLATION AND SYSTEM
03/07/2023 | 2:44:18 pm SRI SB 2
ISSUE DATE DUE DATE

__ 03/25/2023 . 08/25/2023

NOTICE OF CITATION
(SECOND NOTICE)

Citation Number 73-10019461
Plate Number RWI9167
Notice of Citation Information
Due Date: 05/25/2023 Amount Due >> $100.00

Please take notice that the vehicle described and pictured herein was photographed violating public
safety by exceeding the speed limit in a school zone during times defined in 0.C.G.A 40-14-18.
Therefore, under Georgia State Law and local ordinance, as the registered owner(s) or lessee, you
are liable for the Civil Monetary Penaily. If paid by the due date, the Civil Monetary Penalty Is $75.00
for first offense and $125.00 for subsequent offenses, plus a $25.00 Processing Fee. This combined
total for the Civil Monetary Penalty is $100.00. No paints will be assessed against your driver's
license. Information about how to contest or file an affidavit to disclaim liability is on the reverse.
WARNING: Falture to pay the Civil Monetary Penalty or to contest in a timely manner shall waive

any right to contest liability. Please call 4-855-252-0086 regarding payment.

NAME
THOMAS DANIEL CHASTAIN

STREET ADDRESS

797 MEADOW BROOK LN

city STATE 21P GODE
RABUN GAP GA 305682005
VEHICLE YEAR VEHICLE MAKE

2021

VEHICLE LIGENSE PLATE NUMBER STATE
RWI9167 A

Based upon Inspection of photograr {ly recorded images, the owner's motor vehicle

and that such disregard or disobedience was not otherwise authorized by law.

was operated in disregard or disobedience of the speed fimit in the marked school zone

IN VIOLATION OF: POSTED SPEED DETECTED SPEED
0.0.G.A, 40-14-18 56

lama certified peace officer employed by a law enforcament agency authorized to
enforce the speed limit of the schaol zone. Based upon Inspection of photographical
recorded Images, the owner's motor vehicle was operated in disregard or disobed!
of the speed limit in the marked school zone and that such disregard or disobedience
was not authorized by law,

SWORN TO ORAFFIRMEDBY ignature DateQ3/25/2023 Badge #
REVIEWING OFFICER

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THOMAS DANIEL CHASTAIN
797 MEADOW BROOK LN
RABUN GAP, GA 305682005

(0 Please check box if address is incorrect or has changed, and indicate
change(s) above,

TALLULAH FALLS POLICE DEPARTMENT
PHOTO SPEED CITATION

PAYMENT PROCESSING CENTER

3903 VOLUNTEER DR SUITE 400
CHATTANOOGA, TN 37416

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WWW.VIOLATIONPAYMENT.NET
Use your Citation Number and Plate Number to logon.
ACCEPTED CREDIT/DEBIT CARDS
$4.90 CHARGE ADDED TO ALL CREDIT/DEBIT CARD PAYMENTS.

= pre VISA

IF PAYING BY PHONE
Please call: 4-855-252-0086 TOLL FREE
$4.80 GHARGE ADDED TO ALL GREDIT/DEBIT CARD PAYMENTS.

If paying by check, please make check or money order payable to the
TOWN OF TALLULAH FALLS.
Do not mall cash or credit/debit card information,
Enclose remittance slip and check.

GITATION DATE | PAY THIS AMOUNT CITATION #
03/25/2023. $100.00 73-10019461
PAY BY: 05/25/2023 AMOUNT PAID §

04 10019461 010000 01 5

Case 2:23-cv-00160-RWS Document 19-2 Filed 05/14/24 Page 8 of 81

This citation is in accordance with Official Code of Georgia Annotated - 0.C.G.A 40-14-18: Liability under this Code section
shall be determined based upon a preponderance of the evidence. Prima-facie evidence that the vehicle described in the citation
issued pursuant to this Cade section was operated in violation of the speed limit of the school zone, together with proof that the
defendant was, at the time of such violation, the registered owner of the vehicle, shall permit the trier of fact in its discretion to
infer that such owner of the vehicle was the driver of the vehicle at the time of the alleged violation

This citation is NOT considered a moving violation. Payment of the Civil Monetary Penalty amount of the violation will
NOT result in points and cannot be used to increase your insurance rates. This violation is deemed NONCRIMINAL and

will not be made a part of your operating record. Code Section 40-5-57.
WARNING: Failure to pay the Civil Monetary Penalty, or failure to contest liability within 60 days of the issue date listed
on the citation waives your right to contest. Failure to exercise one of the options prescribed in 0.C.G.A 40-14-18 is deemed
to be an admission of liability and waiver of the opportunity to contest the violation.
Payment before the due date of this Citation will prevent this matter from further action.
If paid by the due date, the Civil Monetary Penalty is $75.00 for first offense and $125.00 for subsequent offenses, plus a
$25.00 Processing fee. (Please see front for exact amount)

If not paid within 30 days, a second notice will be issued. if not paid in 60 days, a final notice will be issued. If the Civil
Monetary Penalty is not paid within 90 days, it will be turned over to the Georgia Department of Revenue and will result
in the nonrenewal of this vehicle registration and will prohibit the title transfer of this vehicle within the state of Georgia.

eee =~ For any questions please call 1-855-252-0086 ~ ~ — 7 TES
VIEW YOUR IMAGES: You may view your images online at WWW.VIOLATIONPAYMENT.NET. You will need your Citation
Number and Plate Number printed on the front of this notice. In the event this matter is filed in an Administrative Hearing, the
recorded images will be prima facie evidence of the traffic law violation
ONLINE PAYMENT: You may pay your Citation online. Go to WWW.VIOLATIONPAYMENT.NET and logon with your Citation
Number and Plate Number shown in the red box on the front of this notice. Click the “Pay” button. See that a credit/debit card
transaction fee of $4.90 will be added.
PAYMENT BY PHONE: Call 9:00 AM - 5:00 PM Eastern Time, Monday - Friday at 1-855-252-0086. See that a credit/debit card
transaction fee of $4.90 will be added.
PAYMENT BY MAIL: Complete the bottom portion of the front side of this Citation. Add your check or money order made payable
to the Town of Tallulah Falls Police Department.

CONTESTING THE TICKET: 0.C.G.A 40-14-18 You have the right to contest the Citation by timely requesting an administrative
hearing. Please be advised that court dates are scheduled approximately 60 days after the request is received. Failure to
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depending on the information provided. There is no fee to attend a hearing. If you do not have access to the internet or fax
machine, please call 1-855-252-0086.

RETURNED CHECKS (NSF): All returned checks will be charged a penalty of $25.00.
NOT DRIVING VEHICLE: 0.C.G.A 40-14-18(4)(A) If you were not driving the vehicle at the time of violation, in open court before

a judge; you-must-submit-an affidavit. To request a hearing to appear in court; please visit WWAW.VIOLATIONPAYMENT.NET to~
download a request form.

STOLEN VEHICLE OR TAG: O.C.G.A. 40-14-18 Must present to the court a certified copy of a police report showing that the
vehicle had been reported to the police as stolen prior to the time of the alleged violation.
To Pay The Civil Monetary Penalty:
Note any corrections to your name and address as they appear on the reverse side of this form. Place your check or money order
(made payable to the Town of Tallulah Falls) for the amount due and mail to:
Photo Speed Citation
Payment Processing Center
3903 Volunteer Dr Suite 400
Chattanooga, TN 37416

* Do not mail cash or credit/debit card info*
Case 2:23-cv-00160-RWS Document 19-2 Filed 05/14/24 Page 9 of 81

Exhibit D
Case 2:23-cv-00160-RWS Document 19-2 Filed 05/14/24 Page 10 of 81

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Case 2:23-cv-00160-RWS Document 19-2 Filed 05/14/24 Page 11 of 81

TOWN OF TALLULAH FALLS
POLICE DEPARTMENT

3903 VOLUNTEER DR SUITE 400
CHATTANOOGA, TN 37416

Registered Owner:

THOMAS DANIEL CHASTAIN
797 MEADOW BROOK LN
RABUN GAP, GA 305682005

ON (DATE)
03/07/2023

AT TIME

2:44:18 pm

LOCATION OF VIOLATION AND SYSTEM
SR15 SH 2

WSSUE DATE

03/25/2023

BUE DATE

06/24/2023 -

NAME
THOMAS DANIEL CHASTAIN

STREET ADDRESS

797 MEADOW BROOK LN

STATE

city ZIP CODE
RABUN GAP GA

305682005

VEHICLE YEAR

2024

VEHICLE MAKE

JEEP

VEHICLE LICENSE PLATE NUMBER STATE

RWI9167 GA

Based upon inspection of photographically recorded images, the owner's motor vehicle
was operated in disregard or disobedience of the speed limit in the marked school zone
and that such disregard or disobedience was not otherwise authorized by law.

IN VIOLATION OF:
0.C.G.A. 40-14-18

POSTED SPEED DETECTED SPEED

} am a certified peace officer employed by a law enforcement agency authorized to
enforce the speed limit of the schoo! zone. Based upon inspection of photographically
recorded images, the owner's mator vehicle was operated in disregard or disobedience
of the speed limit in the marked school zone and that such disregard or disobedience
was not authorized by law.

SWORNTOORAFFIRMEDBY Signature Date03/25/2023 Badge #
REVIEWING OFFICER

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FINAL NOTICE OF UNPAID
CIVIL MONETARY PENALTY

Citation Number 73-10019461

Plate Number RW19167

Citation Information
Due Date: 06/24/2023 Amount Due >> $25.00

The Tallulah Falls Police Department issued a Citation due to your vehicle
being operated in a manner that violated public safety by exceeding the
posted speed limit in an active School Zone. The infraction was captured
by a speed detection device of the Tallulah Falls Police Department. If paid

by the due date, the Civil Monetary Penalty is $75.00 for first offense and ~

$125.00 for subsequent offenses, plus a $25.00 Processing Fee.

The payment for the Civil Monetary Penalty from the Citation has not been
received. This is a Final Notice informing you that you have waived your
right to contest this Citation. If the unpaid Civil Monetary Penalty is not
paid within the next 30 days, the County or it's Agent shall send a referral
to the Department of Revenue and will result in the nonrenewal of the
registration of such motor vehicle and shall prohibit the title transfer of
such vehicle within the state of Georgia.

Remit the unpaid Civil Monetary Penalty by returning the form below with
your check or money order (payable to the Tallulah Falls Police
Department) in the enclosed envelope, or if you pay online at
www. violationpayment.net with a credit card/debit card.

You may view the images of the Citation online at
www. violationpayment.net
You will need your Citation number and Plate number printed on the top of
this form. For more information please reference the back of this notice.

lf you have any questions, please contact the Photo Speed Citation
Processing Center at 1-855-252-0086.

*Please return this portion with your payment*

THOMAS DANIEL CHASTAIN
797 MEADOW BROOK LN
RABUN GAP, GA 305682005

( Please check box if address is incorrect or has changed, and indicate
changa(s) above

TALLULAH FALLS POLICE DEPARTMENT
PHOTO SPEED CITATION

PAYMENT PROCESSING CENTER

3903 VOLUNTEER DR SUITE 400
CHATTANOOGA, TN 37416

For frequently asked questions and/or to make a payment, please visit:
WWW. VIOLATIONPAYMENT.NET
Use your Citation Number and Piate Number to logon.
ACCEPTED CREDIT/DEBIT CARDS
$4.90 CHARGE ADDED TO ALL CREDIT/DEBIT CARD PAYMENTS.

VISA

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IF PAYING BY PHONE

Please call: 1-855-252-0086 TOLL FREE
$4.90 CHARGE ADDED TO ALL CREDIT/DEBIT CARD PAYMENTS.

lf paying by check, please make check or money order payable to the
TOWN OF TALLULAH FALLS.
No rot mail cash or credit/debit card information.
Enclose remittance slip and check.

CITATION DATE PAY THIS AMOUNT CITATION #
03/25/2023 $25.00 73-10019461
PAY BY. 06/24/2023 AMOUNT PAID §

04 10019461 002500 01 1
Case 2:23-cv-00160-RWS Document 19-2 Filed 05/14/24 Page 12 of 81

This citation is in accordance with Official Code of Georgia Annotated - O.C.G.A 40-14-18: Liability under this Code section
shall be determined based upon a preponderance of the evidence. Prima-facie evidence that the vehicle described in the citation
issued pursuant to this Code section was operated in violation of the speed limit of the school zone, together with proof that the
defendant was, at the time of such violation, the registered owner of the vehicle, shall permit the trier of fact in its discretion to
infer that such owner of the vehicle was the driver of the vehicle at the time of the alleged violation

This citation is NOT considered a moving violation. Payment of the Civil Monetary Penalty amount of the violation will
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PAYMENT BY MAIL: Complete the bottom portion of the front side of this Citation. Add your check or money order made payable
to the Town of Tallulah Falls Police Department.

CONTESTING THE TICKET: 0.C.G.A 40-14-18 You have the right to contest the Citation by timely requesting an administrative
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RETURNED CHECKS (NSF): All returned checks will be charged a penalty of $25.00.
NOT DRIVING VEHICLE: 0.C.G.A 40-14-18(4)(A) If you were not driving the vehicle at the time of violation, in open court before

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download a request form.

STOLEN VEHICLE OR TAG: 0.C.G.A. 40-14-18 Must present to the court a certified copy of a police report showing that the
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Note any corrections to your name and address as they appear on the reverse side of this form. Place your check or money order
(made payable to the Town of Tallulah Falls) for the amount due and mail to:
Photo Speed Citation
Payment Processing Center
3903 Volunteer Dr Suite 400
Chattanooga, TN 37416

* * Do not mail cash or credit/debit card info*
Case 2:23-cv-00160-RWS Document 19-2 Filed 05/14/24 Page 13 of 81

Exhibit E
Case 2:23-cv-00160-RWS Document 19-2 Filed 05/14/24 Page 14 of 81

CHATHAM COUNTY

POLICE DEPARTMENT

3903 VOLUNTEER DR SUITE 400
CHATTANOOGA, TN 37416

Registered Owner:

JONATHAN VICTOR DUNN
8 CAPTAIN KIRK LN
SAVANNAH, GA 31411

ON (DATE) AT TIME LOCATION OF VIOLATION AND SYSTEM
10/28/2022 4:12:41 pm US HWY 80 East 2
ISSUE DATE DUE DATE

11/08/2022 12/08/2022

NAME
JONATHAN VICTOR DUNN

STREET ADDRESS
8 CAPTAIN KIRK LN

city STATE ZIP CODE
SAVANNAH GA 31411
VEHICLE YEAR VEHICLE MAKE

2014 TOYOTA

VEHICLE LICENSE PLATE NUMBER STATE
EHH502 GA

Based upon inspection of photographically recorded images, the owner's motor vehicle
was operated in disregard or disobedience of the speed limit in the marked school zone
and that such disregard or disobedience was not otherwise authorized by law.

IN VIOLATION OF: POSTED SPEED DETECTED SPEED
0.C.G.A, 40-14-18

lam a certified peace officer employed by a law enforcement agency authorized to
enforce the speed limit of the school zone. Based upon inspection of ph hically
recorded images, the owner's motor vehicle was operated in disregard or disobedience
of the speed limit in the marked school zone and that such disregard or disobedience
was not authorized by law,

SWORN TO OR AFFIRMED BY Signature Date11/08/2022 Badge #
REVIEWING OFFICER . c ,
Prucittoe athe ~—

Carlson, Samantha 10359

NOTICE OF CITATION

Citation Number 53-10032369
Plate Number EHH502

Notice of Citation Information
Due Date: 12/08/2022 Amount Due >> $100.00

Please take notice that the vehicle described and pictured herein was photographed violating
public safety by exceeding the speed limit in a school zone during times defined in O.C.G.A
40-14-18. Therefore, under Georgia State Law and local ordinance, as the registered owner(s) or
lessee, you are liable for the Civil Monetary Penalty If paid by the due date, the Civil Monetary
Penalty is $75.00 for first offense and $125 00 for subsequent offenses, plus a $25.00 Processing
Fee. This combined total for the Civil Monetary Penalty is $100.00. No points will be assessed
against your driver's license Information about how to contest or file an affidavit to disclaim
liability is on the reverse WARNING. Failure to pay the Civil Monetary Penalty or to contest in a
timely manner shall waive any right to contest liability Please call 1-855-252-0086 regarding
payment

*Please return this portion with your payment*

JONATHAN VICTOR DUNN
8 CAPTAIN KIRK LN
SAVANNAH, GA 31411

DD Please check box if address is incorrect or has changed. and indicate
change(s) above

CHATHAM COUNTY POLICE DEPARTMENT
PHOTO SPEED CITATION

PAYMENT PROCESSING CENTER

3903 VOLUNTEER DR SUITE 400
CHATTANOOGA, TN 37416

For frequently asked questions and/or to make a payment, please visit
WWW.VIOLATIONPAYMENT.NET
Use your Citation Number and Plate Number to logon
ACCEPTED CREDIT/DEBIT CARDS
$3.90 CHARGE ADDED TO ALL CREDIT/DEBIT CARD PAYMENTS.

EE) ae V 1 S A

IF PAYING BY PHONE

Please call: 1-855-252-0086 TOLL FREE
$3.90 CHARGE ADDED TO ALL CREDIT/DEBIT CARD PAYMENTS.

If paying by check, please make check or money order payable to the
CHATHAM COUNTY POLICE DEPARTMENT.
Do not mail cash or credit card information.
Enclose remittance slip and check

CITATION DATE PAY THIS AMOUNT CITATION #
11/08/2022 $100.00 53-10032369
PAY BY: 42/08/2022 AMOUNT PAID ¢

04 10032369 010000 09 5

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This citation is in accordance with Official Code of Georgia Annotated - 0.C.G.A 40-14-18: Liability under this Code section
shall be determined based upon a preponderance of the evidence. Prima-facie evidence that the vehicle described in the citation
issued pursuant to this Code section was operated in violation of the speed limit of the school zone, together with proof that the
defendant was, at the time of such violation, the registered owner of the vehicle, shall permit the trier of fact in its discretion to
infer that such owner of the vehicle was the driver of the vehicle at the time of the alleged violation

This citation is NOT considered a moving violation. Payment of the Civil Monetary Penalty amount of the violation will
NOT result in points and cannot be used to increase your insurance rates. This violation is deemed NONCRIMINAL and

will not be made a part of your operating record. Code Section 40-5-57.
WARNING: Failure to pay the Civil Monetary Penalty, or failure to contest liability within the next 60 days waives your
right to contest. Failure to exercise one of the options prescribed in O.C.G.A 40-14-18 is deemed to be an admission of PY
and waiver of the opportunity to contest the violation.
Payment before the due date of this Citation will prevent this matter from further action.
If paid by the due date, the Civil Monetary Penalty is $75.00 for first offense and $125.00 for subsequent offenses, plus a
$25.00 Processing fee. (Please see front for exact amount)

If not paid within 30 days, a second notice will be issued. If not paid in 60 days, a final notice will be issued. If the Civil
Monetary Penalty is not paid within 90 days, it will be turned over to the Georgia Department of Revenue and will result
in the nonrenewal of this vehicle registration and will prohibit the title transfer of this vehicle within the state of Georgia.

For any questions piease call 1-855-252-0086
VIEW YOUR IMAGES: You may view your images online at WWW.VIOLATIONPAYMENT.NET
<http://WWW.VIOLATIONPAYMENT.NET>. You will need your Citation Number and Plate Number printed on the front of this
notice. In the event this matter is filed in an Administrative Hearing, the recorded images will be prima facie evidence of the traffic
law violation
ONLINE PAYMENT: You may pay your Citation online. Go to WWW.VIOLATIONPAYMENT.NET
<http://WWW.VIOLATIONPAYMENT.NET> and logon with your Citation Number and Plate Number shown in the red box on the
front of this notice. Click the “Pay” button. See that a credit/debit card transaction fee of $3.90 will be added
PAYMENT BY PHONE: Call 9:00 AM - 5:00 PM Eastern Time, Monday - Friday at 1-855-252-0086. See that a credit/debit card
transaction fee of $3.90 will be added
PAYMENT BY MAIL: Complete the bottom portion of the front side of this Citation. Add your check or money order made payable
to the Chatham County Police Department.

CONTESTING THE TICKET: O.C.G.A 40-14-18 You have the right to contest the Citation by timely requesting an administrative
hearing. Please be advised that court dates are scheduled approximately 60 days after the request is received.

HOW TO CONTEST THE TICKET: Visit WWW.VIOLATIONPAYMENT.NET <http:/)WWW.VIOLATIONPAYMENT.NET>. Click
on the “Contest Your Citation” button. Follow the directions to print out the Administrative Hearing Request Form. Mail or fax the
form to the location as specified on the form. Once the Administrative Hearing Request form is received, a hearing date will be
set and provided to you either by email or USPS depending on the information provided. There is no fee to attend a hearing. If
you do not have access to the internet or fax machine, please call 1-855-252-0086.

RETURNED CHECKS (NSF): All returned checks will be charged a penalty of $25.00.
NOT DRIVING VEHICLE: 0.C.G.A 40-14-18(4)(A) If you were not driving the vehicle at the time of violation, in open court before
a judge, you must submit an affidavit. To request a hearing to appear in court, please visit WWW.VIOLATIONPAYMENT.NE
<http://WWW.VIOLATIONPAYMENT.NET> to download a request form.
STOLEN VEHICLE OR TAG: O.C.G.A. 40-14-18 Must present to the court a certified copy of a police report showing that the
vehicle had been reported to the police as stolen prior to the time of the alleged violation.
To Pay The Civil Monetary Penalty:
Note any corrections to your name and address as they appear on the reverse side of this form. Place your check or money order
(made payable to the Chatham County Police Department) for the amount due and mail to:
Photo Speed Citation
Payment Processing Center
3903 Volunteer Dr Suite 400
Chattanooga, TN 37416

* Do not mail cash or credit/debit card info*
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L29/25, 1:38 PM printPayment

Payment Receipt
You have successfully submitted payment. Upon confirmation of payment by your credit cand company or bank, the arnount submitted for payment will be credited to the citati
Citation Number: 10032369
Date of Payment: 1/29/2023 1:38:07 PM
Amount Paid: $103.90
Payment Method: Credit Card 0780
Approval Cade: 029203

Please print ent this page for your records.
Print

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Exhibit F
Case 2:23-cv-00160-RWS Document 19-2 Filed 05/14/24 Page 18 of 81
1/29/23, 1:38 PM printPayment

Payment Receipt
You have successfully submitted payment. Upon confirmation of payment by your credit card company or bank, the amount submitted for payment will be credited to the citati
Citation Number: 10032369
Date of Payment: 1/25/2023 1:38:07 PM
Amount Paid: $103.90
Payment Method: Credit Card 0780
Approval Code: 029203

Please print out this page for your records.

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Exhibit G
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§ 40-14-18. Enforcement; photographically recorded images; civil..., GA ST § 40-14-18

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Proposed Legislation

KeyCite Yellow Flag - Negative Treatment

West's Code of Georgia Annotated
Title 40. Motor Vehicles and Traffic
Chapter 14, Use of Speed Detection and Traffic-Control Signal Monitoring Devices
Article 2. Speed Detection Devices (Refs & Annos)

Ga. Code Ann., § 40-14-18
§ 40-14-18. Enforcement; photographically recorded images; civil penalty

Effective: July 1, 2018
Currentness

(a)(1) The speed limit within any school zone as provided for in Code Section 40-14-8 and marked pursuant to Code Section
40-14-6 may be enforced by using photographically recorded images for violations which occurred only on a school day during
the time in which instructional classes are taking place and one hour before such classes are scheduled to begin and for one
hour after such classes have concluded when such violations are in excess of ten miles per hour over the speed limit.

(2) Prior to the placement of a device within a school zone, each school within whose school zone such automated traffic
enforcement safety device is to be placed shall first apply for and secure a permit from the Department of Transportation for
the use of such automated traffic enforcement safety device. Such permit shall be awarded based upon need. The Department
of Transportation shall promulgate rules and regulations for the implementation of this paragraph.

(b) For the purpose of enforcement pursuant to this Code section:

(1) The owner of a motor vehicle shall be liable for a civil monetary penalty to the governing body of the law enforcement
agency provided for in paragraph (2) of this subsection if such vehicle is found, as evidenced by photographically recorded
images, to have been operated in disregard or disobedience of the speed limit within any school zone and such disregard
or disobedience was not otherwise authorized by law. The amount of such civil monetary penalty shall be $75.00 for a first
violation and $125.00 for a second or any subsequent violation, in addition to fees associated with the electronic processing
of such civil monetary penalty which shall not exceed $25.00; provided, however, that for a period of 30 days after the first
automated traffic enforcement safety device is introduced by a law enforcement agency within a school zone, the driver of a
motor vehicle shall not be liable for a civil monetary penalty but shall be issued a civil warning for disregard or disobedience
of the speed limit within the school zone;

(2) A law enforcement agency authorized to enforce the speed limit of a school zone, or an agent working on behalf of a
law enforcement agency or governing body, shall send by first class mail addressed to the owner of the motor vehicle within
30 days after obtaining the name and address of the owner of the motor vehicle but no later than 60 days after the date of
the alleged violation:

(A) A citation for the alleged violation, which shall include the date and time of the violation, the location of the infraction,
the maximum speed at which such motor vehicle was traveling in photographically recorded images, the maximum speed

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§ 40-14-18. Enforcement; photographically recorded images; civil..., GA ST § 40-14-18

applicable within such school zone, the civil warning or the amount of the civil monetary penalty imposed, and the date
by which a civil monetary penalty shall be paid;

(B) An image taken from the photographically recorded images showing the vehicle involved in the infraction;

(C) A website address where photographically recorded images showing the vehicle involved in the infraction and a
duplicate of the information provided for in this paragraph may be viewed;

(D) A copy of a certificate sworn to or affirmed by a certified peace officer employed by a law enforcement agency
authorized to enforce the speed limit of the school zone and stating that, based upon inspection of photographically recorded
images, the owner's motor vehicle was operated in disregard or disobedience of the speed limit in the marked school zone
and that such disregard or disobedience was not otherwise authorized by law;

(E) A statement of the inference provided by paragraph (4) of this subsection and of the means specified therein by which
such inference may be rebutted;

(F) Information advising the owner of the motor vehicle of the manner in which liability as alleged in the citation may be
contested through an administrative hearing; and

(G) A warning that failure to pay the civil monetary penalty or to contest liability in a timely manner as provided for in
subsection (d) of this Code section shall waive any right to contest liability;

(3) Proof that a motor vehicle was operated in disregard or disobedience of the speed limit of the marked school zone shail
be evidenced by photographically recorded images. A copy of a certificate sworn to or affirmed by a certified peace officer
employed by a law enforcement agency and stating that, based upon inspection of photographically recorded images, a motor
vehicle was operated in disregard or disobedience of the speed limit in the marked school zone and that such disregard or
disobedience was not otherwise authorized by law shall be prima-facie evidence of the facts contained therein; and

(4) Liability under this Code section shall be determined based upon a preponderance of the evidence. Prima-facie evidence
that the vehicle described in the citation issued pursuant to this Code section was operated in violation of the speed limit of
the school zone, together with proof that the defendant was, at the time of such violation, the registered owner of the vehicle,
shall permit the trier of fact in its discretion to infer that such owner of the vehicle was the driver of the vehicle at the time
of the alleged violation. Such an inference may be rebutted if the owner of the vehicle:

(A) Testifies under oath in open court or submits to the court a sworn notarized statement that he or she was not the operator
of the vehicle at the time of the alleged violation;

(B) Presents to the court a certified copy of a police report showing that the vehicle had been reported to the police as
stolen prior to the time of the alleged violation.

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(c) A violation for which a civil warning or a civil monetary penalty is imposed pursuant to this Code section shall not be
considered a moving traffic violation for the purpose of points assessment under Code Section 40-5-57. Such violation shall
be deemed noncriminal, and imposition of a civil warning or civil monetary penalty pursuant to this Code section shall not be
deemed a conviction and shall not be made a part of the operating record of the person upon whom such liability is imposed,
nor shall it be used for any insurance purposes in the provision of motor vehicle insurance coverage.

(d) If a person issued and mailed a citation pursuant to subsection (b) of this Code section fails to pay the civil monetary penalty
for the violation or has not filed a police report or notarized statement pursuant to paragraph (4) of subsection (b) of this Code
section in no less than 30 nor more than 60 days after such mailing as determined and noticed by the law enforcement agency,
the agent or law enforcement agency shall send to such person by first class mail a second notice of any unpaid civil monetary
penalty, except in cases where there is an adjudication that no violation occurred or there is otherwise a lawful determination
that no civil monetary penalty shall be imposed. The second notice shall include all information required in paragraph (2) of
subsection (b) of this Code section and shall include a new date of return which shall be no less than 30 days after such mailing
as determined and noticed by the law enforcement agency. If such person notified by second notice again fails to pay the civil
monetary penalty or file a police report or notarized statement pursuant to paragraph (4) of subsection (b) of this Code section by
the new date of return, such person shall have waived the right to contest the violation and shall be liable for the civil monetary
penalty provided for under this Code section, except in cases where there is an adjudication that no violation occurred or there
is otherwise a lawful determination that no civil monetary penalty shall be imposed.

(e) Notices mailed by first class mail pursuant to this Code section shall be adequate notification of the fees and penalties
imposed by this Code section. No other notice shall be required for the purposes of this Code section.

(f) Any court having jurisdiction over violations of subsection (a) of this Code section shall have jurisdiction over cases arising
under this subsection and shall be authorized to impose the civil monetary penalty provided by this subsection. Except as
otherwise provided in this subsection, the provisions of law governing jurisdiction, procedure, defenses, adjudication, appeal,
and payment and distribution of penalties otherwise applicable to violations of subsection (a) of this Code section shall apply
to enforcement under this Code section except as provided in subsection (b) of this Code section; provided, however, that any
appeal from superior or state court shall be by application in the same manner as that provided by Code Section 5-6-35.

(g) If a violation has not been contested and the assessed penalty has not been paid, the agent or governing body shall send
to the person who is the registered owner of the motor vehicle a final notice of any unpaid civil monetary penalty authorized
by this Code section, except in cases where there is an adjudication that no violation occurred or there is otherwise a lawful
determination that no civil monetary penalty shall be imposed. The notice shall inform the registered owner that the agent or
governing body shall send a referral to the Department of Revenue if the assessed penalty is not paid within 30 days after the
final notice was mailed and such that such referral shall result in the nonrenewal of the registration of such motor vehicle and
shall prohibit the title transfer of such motor vehicle within this state.

(h) The agent or governing body shall send a referral to the Department of Revenue not sooner than 30 days after the final notice
required under subsection (g) was mailed if a violation of an ordinance or resolution adopted under this article has not been
contested and the assessed penalty has not been paid. The referral to the Department of Revenue shall include the following:

(1) Any information known or available to the agent or governing body concerning the license plate number, year of
registration, and the name of the owner of the motor vehicle;

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§ 40-14-18. Enforcement; photographically recorded images; civil..., GA ST § 40-14-18

(2) The date on which the violation occurred;
(3) The date when the notice required under this Code section was mailed; and
(4) The seal, logo, emblem, or electronic seal of the governing body.

(i) If the Department of Revenue receives a referral under subsection (h) of this Code section, such referral shall be entered into
the motor vehicle database within five days of receipt and the Department of Revenue shall refuse to renew the registration of
the motor vehicle and shall prohibit the title transfer of such vehicle within this state unless and until the civil monetary penalty
plus any late fee is paid to the governing body. The Department of Revenue shall mail a notice to the registered owner:

(1) That the registration of the vehicle involved in the violation will not be permitted to be renewed;
(2) That the title of the vehicle involved in the violation will not be permitted to be transferred in this state;

(3) That the aforementioned penalties are being imposed due to the failure to pay the civil monetary penalty and any late fee
for an ordinance violation adopted under the authority of this Code section; and

(4) Of the procedure that the person may follow to remove the penalties.

(j) The Department of Revenue shall remove the penalties on a vehicle if any person presents the Department of Revenue with
adequate proof that the penalty and any late fee, if applicable, has been paid.

(k) Recorded images made for purposes of this Code section shall not be a public record for purposes of Article 4 of Chapter
18 of Title 50.

(1) A civil warning or civil monetary penalty under this Code section on the owner of a motor vehicle shall not be imposed if the
operator of the vehicle was arrested or issued a citation and notice to appear by a certified peace officer for the same violation.

(m) The money collected and remitted to the governing body pursuant to paragraph (1) of subsection (b) of this Code section
shall only be used by such governing body to fund local law enforcement or public safety initiatives. This subsection shall not
preclude the appropriation of a greater amount than collected and remitted under this subsection.

Credits
Laws 2018, Act 545, § 9, eff. July 1, 2018.

Ga. Code Ann., § 40-14-18, GA ST § 40-14-18

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The statutes and Constitution are current through legislation passed at the 2022 Regular Session of the Georgia General

Assembly, Some sections may be more current, see credits for details. The statutes are subject to changes by the Georgia Code
Commission.

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Exhibit H
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AUTOMATED SPEED ENFORCEMENT SYSTEM AGREEMENT

THIS AGREEMENT made this aay of ul 2020, between Blue Line Solutions, LLC (herein
"BLS"), and the City of Tallulah Falls (herein "City,") a City of the State of Georgia,

WHEREAS, BLS has the legal possession and processes, referred to collectively as the
"Automated Speed Enforcement System" (herein "ASE System"), and

WHEREAS, City desires to use the ASE System to monitor excessive speeding infractions
and other potential traffic violations, issue traffic notices of violations and
evaluate traffic movement and safety, affirms it has no other such ASE System
equipment or service provider, and has the right, power and authority to execute this
Agreement,

NOW THEREFORE, the parties agree:

As used In this Agreement, the following words and terms shall apply:

"Notice of Liability" means a notice of liability issued by a competent state or
authorized law enforcement agency or by a court of competent jurisdiction relating to an
infraction evidenced by the ASE System.

“Person” or "persons" means any individual, partnership, joint venture, corporation, trust,

unincorporated association, governmental authority or political subdivision thereof or any other form
of entity.

"ASE System" means Automated Speed Enforcement System, described as
photographic traffic monitoring devices capable of accurately detecting a traffic infraction and
recording such date with images of such vehicle. Each ASE system will contain a minimum of
one LIDAR/camera for each lane of travel in which enforcement is conducted.

"Violation" means failure to obey an applicable traffic law or regulation, including,
without limitation, operating a motor vehicle in excess of the posted speed limit, and operating
a motor vehicle without displaying a valid license plate.

2. BLS AGREES TO PROVIDE:
The scope of work identified in Exhibit A.
3. City AGREES TO PROVIDE:

The scope of work identified In Exhibit B.

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Initial of Authorized Signature
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4, TERMS AND TERMINATION

a. The term of this Agreement shall be for 1 (one) years beginning on the date of the first notice
of a liability is issued and payable and may be automatically extended for 4 (four) additional 1 (one)
year periods at the sole option of City. Either party may terminate this Agreement at the expiration
of any term providing written notice of its intent not to extend the Agreement at least thirty (30)
days prior to the expiration of the current term.

Either party shall have the right to terminate this Agreement by written notice:

|) At any time during the term of this Agreement without cause with 30-day notice, provided
however, (x) If the City terminates the Agreement prior to the expiration of any term, the City
shall pay the applicable costs set forth In Exhibit C; and (y) the City shall not terminate this
Agreement without cause in the first year of the term;

li) If applicable law is changed so as to prohibit or substantially interfere with the operation or
feasibility of the ASE System or the partles' obligations under this Agreement;

iii) For cause, by either party where the other party fails In any material way to perform its
obligations under this Agreement. Termination under this subsection may occur if the terminating
party notifles the other party of its intent to terminate, stating the specific grounds therefore, and
the other party fails to cure the default within sixty (60) days after receiving notice.

b. Upon any termination of this Agreement, the parties recognize that BLS and City will use its
best efforts to continue to process any and all pending and legitimate traffic law violations. Accordingly,
the parties shall have the following obligations which continue during the termination process: City
shall cease using the ASE System, shall allow BLS to retrieve all equipment to BLS within a reasonable
time not to exceed 30 days, and shall not generate further images to be processed. Unless reasonably
agreed upon otherwise by both parties, BLS and City shall continue to process all images and notices
of violation that occurred before termination in accordance with this Agreement and BLS shall be
entitled to all Fees specified in the Agreement as if the Agreement were still in effect,

C. Upon the expiration of any term of this Agreement or in the event that City receives an offer
for services substantially related to those provided by BLS or the ASE System, the City shall offer BLS
the first right to enter into a new agreement with City prior to signing any agreement with another
provider for provision of services substantially similar to those provided by BLS under this Agreement
(the “Right of First Refusal”), The Right of First Refusal shall be limited to a three (3) year term from
the expiration of this Agreement.

d. Notwithstanding any provision to the contrary this Agreement terminates automatically upon
a determination by any Court of jurisdiction, State or Federal, that the ASE System or the underlying
Infraction are unconstitutional, illegal or otherwise prohibited. Any legislative act, State or Federal,
which prohibits the use of the ASE System or the enforcement of the underlying infraction, shall also
automatically terminate this agreement,

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Initial of Authorized Signature
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5. ASSIGNMENT AND EFFECT OF AGREEMENT

Neither party may assign all or any portion of this Agreement without the prior written consent of
the other, which consent shall not be unreasonably withheld or delayed; provided, however, the City
hereby acknowledges that the performance of BLS's equipment and obligations pursuant to this
Agreement require a significant investment by BLS, and that, in order to finance such investment,
BLS may be required to enter into certain agreements or arrangements with financial institutions or
other similar entities. The City hereby agrees that BLS shall have the right to assign or pledge its
rights under this Agreement in connection with any financing subject to the City's prior written
approval, which approval shall not be unreasonably withheld or delayed. The Clty further agrees
that in the event BLS provides written notice to the City that it Intends to assign or pledge its
rights pursuant to this Agreement, and In the event that the City fails to provide such approval

or fails to object within thirty (30) days after its receipt of such notice from BLS, then BLS shall
be free to effect such transaction.

This Agreement shall inure to the benefit of and be binding upon all of the parties hereto and their respective
executors, administrators, successors and assigns as permitted by law.

6. FEES AND PAYMENT

City shall pay BLS for all equipment, services and maintenance based on the Service Fee schedule indicated
in Exhibit C.

BLS shall collect and accumulate all payments to City on a monthly basis and provide proper
payment to City on or before the 15th day of the following month. City shall forward to BLS any
payments received by City directly from violators within three (3) days of receipt, in order for BLS
to process and reconcile all payments due and owing under this Agreement.

7. AVAILABILITY OF INFORMATION

BLS agrees that all relevant information obtained by BLS through operation of the ASE System
shall be made available to City at any time during BLS's normal working hours upon reasonable
notice, excluding trade secrets and other confidential or proprietary information not reasonably

necessary for the prosecution of notices of violation or the fulfillment of BLS's obligatlons to City
under this Agreement.

8. CONFIDENTIAL INFORMATION

No information provided by BLS to City will be of a confidential nature, unless specifically
designated in writing as proprietary and confidential by BLS. Provided, however, nothing in this
paragraph shall be construed contrary to the terms and provisions of any "Open Records Act" or
similar laws, insofar as they may be applicable.

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Initial of Authorized Signature
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9, OWNERSHIP OF SYSTEM

It is understood by the City that the ASE System, and all associated hardware and software being
provided by BLS js, and shall remain, the sole property of BLS, unless separately procured by
City. The ASE System is being provided to City only pursuant to the terms of this Agreement. City
agrees that it shall not make any modifications to BLS's equipment, nor disassemble or perform
any type or reverse engineering to the ASE System, nor Infringe on any property or patent rights,
nor cause or allow any other Person to do any of the foregoing. The parties agree that upon
termination of this Agreement for any reason, BLS shall have the right, but not the obligation, to
remove all equipment provided. If the Agreement is terminated by either Party after the completion of
the first term, the City may take possession of the radar speed displays.

10. LIMITED LIABILITY

Notwithstanding anything to the contrary In this Agreement, neither party shall be liable to the
other, by reason of any representation or express or Implied warranty, condition or other term
or any duty at common or civil law, for any indirect, incidental, special, lost profits or

consequential damages, however caused and on any theory of liability arising out of or
relating to this Agreement.

IL. FORCE MAJEURE

Neither party will be liable to the other or be deemed to be in breach of this Agreement for any
failure or delay in rendering performance arising out of causes beyond its reasonable control.
Such causes may include but are not limited to, acts of God or the public enemy, terrorism,
significant fires, floods, earthquakes, unusually severe weather, epidemics, strikes, or
governmental authority approval delays or denials. The party whose performance is affected
agrees to notify the other promptly of the existence and nature of any delay.

12. CORRESPONDENCE BETWEEN PARTIES
All notices required to be given under this Agreement shall be deemed provided upon the date

postmarked when mailed by first class mail, or by registered mail, and addressed to the proper
party at the address set forth in paragraph 19 below.

13. DISPUTE RESOLUTION

Both parties desire all disputes arising out of or in connection with this Agreement to be
resolved through good-faith negotiations between the parties, and to be followed if
necessary by professionally-assisted mediation within 45 days. Any such mediator must be
acceptable to each party. The mediation will be conducted as specified by the mediator and
agreed upon by the parties. The parties agree to attempt to reach an amicable
resolution of the dispute. The mediation will be treated as a settlement discussion and
remain confidential. Each party will bear its own costs in the mediation and will equally share
the fees and expenses of the mediator,

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14. ADDITIONAL SERVICES

Additional systems and services provided by Blue Line Innovations Holdings may be added to this
Agreement by mutual consent of the parties in writing as an addendum to this Agreement. All other
terms and conditions shall remain the same. In the event the City agrees to contract for other services
provided by BLS or companles owned by Blue Line Holdings, LLC whether or not associated with the
program herein, City authorize BLS to withdraw invoiced amounts on a one-time basis, or monthly
basis, whichever is chosen by the City, as payment for products/services. Such services may include

but are not limited to In-Car Video Systems, Body Worn Cameras, Video/Evidence Storage, &
Automated License Plate Recognition Systems,

15. VALIDITY AND CONSTRUCTION OF TERMS

In case any one or more of the provisions contained in this Agreement shall for any reason be held
to be invalid, illegal, or unenforceable in any respect, such invalidity, illegality, or unenforceability

shall not affect any other provision and all remaining provisions of this Agreement shall remain in full
force and effect.

16. ENTIRE AGREEMENT

This Agreement replaces any previous agreements and discussions and constitutes the entire agreement
between the parties with respect to the subject matters herein. No amendments, modifications, or

alterations of the terms herein shall be binding unless the same is in writing and duly executed by the
parties,

17. AUDIT RIGHTS

Each party shall have the right to audit the records of the other party pertaining to the Citations issued
pursuant to this Agreement solely for the purpose of verifying the accuracy of payments, if any, payable
pursuant to this Agreement. Any such audit shall be conducted upon not less than forty-eight hours' notice,
at mutually convenient times. The cost of any such audit shall be borne by the party requesting the audit.

18. COVENANT OF FURTHER ASSURANCES

All parties to this Agreement shall, upon request, perform any and all acts and execute and deliver
any and all certificates, instrument and other documents that may be necessary or appropriate to

carry out any of the terms, conditions and provisions hereto or to carry out the intent of this
Agreement.

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19. NO AGENCY

The relationship between the parties shall be that of independent contractors, and the
employees, agents and servants of elther party shall in no event be considered to be
employees, agents, or servants of the other party. This Agreement shall not create an agency
relationship between BLS and City and neither party may Incur any debts or liabilities or
obligations on behalf of the other party, except as specifically provided herein,

20, NOTICES

Any notices or demand which under the terms of this Agreement or under any law shall be
in writing shall be made by personal service, first class mail, or by certified or registered
mail to the parties at the following address:

Notices to Blue Line Solutions
Mark Hutchinson, CEO

3903 Volunteer Dr., Suite 400
Chattanooga, TN 37416

Notices to Tallulah Falls Police Department
Chief Tonya Elrod

255 Main St,

Tallulah Falls, GA 30573

(with copy to City Clerk - Linda Lapeyrouse)

21, COMPLIANCE WITH LAWS

Nothing contained in this Agreement shall be construed to require the commission of any act
contrary to law, and whenever there is a conflict between any term, condition or provision
of this Agreement and any present or future statute, law, ordinance or regulation contrary
to which the parties have no legal right to contract, the latter shall prevail, but in such
event shall be curtailed and limited only to the extent necessary to bring it within the
requirements of the law, provided it is consistent with the intent of the parties as
expressed in this Agreement,

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22. STATE LAW TO APPLY

This Agreement shall be construed under and in accordance with the laws of the State of Georgia.

IN WITNESS WHEREOF, the parties have executed this Agreement as of the date accepted by the

Customer,
City of Tallulah Falls Blue Line Solutions, LLC.
By: ___ Mayor Mike Barly By:_ Mark Hutchinson
Blue Line Solutions, CEO

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Approved and authorized this __ day of , 2020.

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Exhibit A
BLS Obligations and Scope of Work

1) BLS at the request of City shall perform an analysis on selected roadways to
determine potential violation rates and assess the most suitable locations for the ASE
System equipment.

2) BLS shall provide the quantities of ASE Systems equipment as indicated on Exhibit
D. From time to time, the parties may agree to add or subtract the number of ASE Systems
to be provided and may modify the location(s) if the parties agree in writing.

3) BLS shall provide an automated, web-based processing program for all valid
Notices of Liability including image processing, mailing of the initial Notice and a reminder
Notice, printing and mailing costs. The program shall be conducted in a timely manner to
comply with any applicable statute of limitation for filing notices of liability. Subject to
the approval and authorization from City, each Notice shall be delivered by First Class
mail to the registered owner within the agreed or statutory period. City shall notify BLS
of any Notice of Liability where there is mo response, and a second reminder Notice,
including a late fee as determined by City, shall be sent by First Class mail after the
agreed or mandated time period. Subsequent notices or collections notification may be
delivered by First Class, Certified Mail-Return Recelpt Requested, or by process servers
for additional compensation to BLS as agreed by parties.

4) BLS shall provide reasonably available vehicle registration information necessary
to issue Notices of Violation resulting from the ASE System assuming BLS Is authorized
to receive such registration data at no additional cost to the Customer.

5) BLS shall provide the City the ability to view and print an Evidence Package and

shall Include a set of images with related documentation for each notice of violation
challenged.

6) BLS shall provide necessary training for persons designated by the City, and
provide reasonable public relations resources to City;
7) BLS shall provide an expert witness as reasonably necessary to establish judicial

notice for contested violations to establish the accuracy and technical operations of the
ASE System.

8) BLS shall provide City access to an electronic file with regular updates of specific
Notices of Liabillty issued and shall update the status of all accounts based on the
disposition information provided by City, indicating payments received, Notices of
Liability outstanding, and cases otherwise closed, dismissed or resolved.

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9) BLS shall provide to City a monthly report of ASE System results within fifteen

days of the end of each calendar month. The report shall include the following
information:

i) Total number of violation events.

if) Total number of actionable violation events.

iil) Total number of Notices of Liability issued.

iv) Total number of Notices of Liability paid,

v) Such reports on ongoing operations as are required, or such other reports and
documents as are mutually agreed upon between BLS and the City.

10) BLS shall provide all routine maintenance of ASE System equipment and timely respond to
equipment repairs,

11) BLS will provide two (2) radar speed signs per school zone for placement prior to

enforcement cameras. Notwithstanding the foregoing, the parties agree that the City shall be solely
responsible for placement, installation and obtaining any regulatory approval related thereto.

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Exhibit B
City Obligations and Scope of Work

1) City shall cause an authorized officer of the agency to carefully review each
potential violation captured by the ASE System, and shall transmit an electronic signature
to each Notice of Liability approved by City. City hereby acknowledges and agrees that
the decision to issue a Notice of Liability shall be the sole, unilateral and exclusive
decision of the authorized officer in such officer's sole discretion, and in no event shall
BLS have the ability or authorization to make a Notice of Liability decision.

2) City shall provide a judge or hearing officer and court facilities to schedule
and hear-disputed citations;
3) City shall provide customary fine collection services for all final dispositions

for contested violations. City agrees to reasonably pursue payments of valid Notices of
Liability with service of follow-up letters or summons as required for contested violations.
4) City shall, upon receiving court dispositions, automatically transmit an
electronic file in an agreed format to BLS with monthly updates of all Notice of Liability
disposition Information provided by the City indicating payments received or cases
otherwise closed, dismissed or resolved for contested violations.

5) City shall direct its departments to cooperate with BLS with respect to
required system and program implementation and provide reasonable access to City's
personnel and facilities in order to permit BLS and City to fulfill the obligations under this
Agreement.

6) City agrees to use due diligence in working with BLS to acquire in a timely
manner any necessary permits under its control, and approvals or other necessary
documentation from the City as necessary for the operation of the ASE System.

7) City shall ensure the program and its enforcement procedures comply with all
applicable laws and/or policies. City shall ensure all necessary GA DOT permits, as well
as, any other necessary permits necessary to erect ASE systems In school zones are
secured by school district, City or other government agency, City will be solely responsible
for all placement of warning signs in strict compliance with DOT regulations. City shall
provide any necessary permits at no cost to BLS,

8) City shall complete and sign letter to NLETS authorizing BLS to retrieve vehicle data
records for processing.
9) As necessary, City shall provide assistance to BLS in obtaining access to vehicle

ownership records data, and if requested, provide a letter and support for BLS to use
with appropriate licensing bureau agencies indicating that BLS is acting as an authorized

agent of City for the purposes of accessing vehicle ownership Information on behalf of
City.

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10) City will make available to BLS thelr Public Works Department, Electricians,
or other staff to determine locations of poles, placement of poles, gaining access
electricity, electricity hookup, etc. as needed. To the extent such is necessary, City will
assist BLS in obtaining all City, state, and city or special permits needed for placement of
poles, electricity, or any other service needed for the installation and usage of the ASE
System. BLS will place and install poles at the direction of the City. After installation by
BLS, City shall make any requests for changes, alterations or modifications related thereto
in writing and shall be responsible for any expenses incurred by BLS in making such
changes, alterations or modifications.

11) City shall operate the ASE System each day school is in session, as authorized
by law throughout the duration of the agreement. City shall supply BLS with appropriate
school schedules and times for pre-programming of cameras for use, as provided by the
school system.

12) City shall not capture infractions with ASE System outside the permitted time according
to state statute. This includes early dismissals, snow days, school cancellation, etc. City will have the
ability to turn the ASE System off during unpermitted use periods, however, City may make a written
request for BLS to turn the ASE System off during unpermitted time periods, City shall notify BLS of
any school closing, and BLS shall wait one day to process any violations received, in order to ensure
adequate time Is given for any potential such notification. City shall indemnify and hold harmless BLS

against all liabilities and expenses arising from City’s failure to notify BLS of any closings or changes
in school schedules,

13) City shall be responsible for reporting unpaid citations to the Department of Revenue in
accordance with statutory requirements.

14) City shall properly reimburse BLS for any damage to the ASE System caused by City, its
employees or authorized agents,

15) City shall issue a letter to BLS showing its authorized use for pole identified for ASE
System to be mounted.

16) City shall provide a project manager or other designated induvial with authority to

execute City’s responsibilities under the Agreement.

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Exhibit C
Service Fees

The City agrees to pay BLS the Fee(s) as itemized below:
Revenue of paid Notice of Liability shall be shared between the two parties:

The City's portion shall be 65% of all paid Notice of Liabilities and BLS's portion
shall be 35% of all paid Notice of Liabilities. No fees or charges will be assessed
to the agency for non-paid violations.

BLS provides all ASE equipment, installation, wireless integration, & infrastructure,
ASE System equipment and installation costs are recovered by BLS in 12
equal monthly installments from net revenue generated and apportioned to
BLS from revenue share, In the event the agreement is terminated by the City as
allowed by Section 4.A.(i), prior to full recovery of equipment and installation
costs, the City will be responsible for the balance. The parties agree the cost
of development, implementation, and installation of the ASE System Is $75,000
per installed ASE Camera System, and upon early termination under Section
4.A.(1) the City shall relmburse BLS for such cost of the ASE System used by
City. Full payment of all such costs will be due within 30 days after the date of
termination,

Fees Charged to Violators

A credit card convenience fee of $4.90 to be charged to the violator using a credit
card (unless prohibited by state statute) for violation payment paid via the
Internet. Such convenience fees shall be collected by BLS during payment of
violation and shall not be shared with City or included in City’s share of Revenue.

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Exhibit D
Number and Locations of ASE System Equipment

The number of ASE System cameras and equipment, as well as the locations for installation
will be determined after a careful analysis by Agency and BLS personnel, considering traffic
dynamics, volume and safety assessments on the Customer's roadways, Based on such
analysis, BLS and Customer have determined the following:

nN (__) ASE Systems will be provided: Additional units may be added without contract

amendment.

Agreed to this date:

Deak 4-9-5630

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Date Ciba Verte.

Authorized Signature

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Blue Line Solutions, LLC Signature Date ON ea_ | Cer

Town Atte rue

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www.tallulahfallsga.qov
706-754-6040
PO Box 56, 255 Main Street, Tallulah Falls, GA 30573

SIGN PERMIT APPLICATION

BUSINESS INFORMATION (please print)

Tallulah Falls Business License No.: CON000839
School Rd, Gilbert Gate Rd, Tallulah Gorge, & Nunnaly Rd
All 50° - 100' from stop sign @ US Hwy 4411

(Must provide number to submit for any business sign)

Tallulah Fails Ga 30573
.. Site Address of Proposed Sign Suite City State Zip
{SO Network Zack Howard - Project Manager
_. Business / Subdivision Name Business Owner / Manager Phone
PROPERTY OWNER INFORMATION (please print)
Owner___ROW Owner / Agent Signature:
Property Owner Address:
Phone:
Fax: E-mail:

APPLICANT (please print) Zack Howard Applicant Signature ji HL

Applicant Address:

Address:
Kennesaw, Ga 30144
Phone: Fax: nt a
Will contractor install sign? Yes [] No Name of Contractor_!SO Network Phone
SIGN INFORMATION . cn . Height Above Ground Sign setback
Sign Type Sign Dimension & Area Grade from R.O.W.
IO Activity Sign 2 Principal Use Sign , School Rd, Gilbert Gate Rd,
Proposed 1 Ground/Freestandingi] Accessory Use Sign | (W) _ 24 x (H) _ 48" 916" (4/- 2” & Nunnaly Rd ail 3' from the
Si a e [O Attached Sign J Incidental Use Sign (+h 2") edge of the road. Tallulah
gnag (J Off-Premises @ Other Area: _ 2" X 2" x 10' posts Gorge will be 7' from the
edade of the road
(J) Business ID change
Existing D Size change ) x(H) No existing signage
. (QO Other
Signage Area:

“One accurate scale drawing of the plans, specs and method of construction and attachment to building or ground and site plan required for permit approval
STi

“Are there any EXISTING sign(s) located on the building or property| ¥ | No [] Yes. If yes, please explain what will happen to the
existing sign(s):

*Removal of an EXISTING sign requires a Sign Removal Affidavit prior to approval of a PROPOSED sign:

Sign Permit Application Page 1 of 2
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APPLICANT SIGNATURE:

| hereby certify that there are no existing signs except those indicated on this application or that any sign(s) required far removal will be removed before
any new signs) are installed | hereby certify that all information provided herein is true and correct and | acknowledge compliance with
all requirements of the zoning district, | am aware of Article VI Signs, and agree to comply with the Town of Tallulah Falls Zoning Ordinance.

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Date O01 /_ 31 / 2022
Applicant Signature: Business Owner or Owmer's Representative

STAFF ONLY

Approved By: Denied By: Date:

Permit No.: Zone District: Case No. TOTAL FEE; $

ANan-Refundable Administrative Fee of $25.00 iy Applied to all Sign Pennits

The owner(s) of the property must sign-off on the application, granting the applicant permission for the placement, maintenance, size, and height of
the subject sign to be placed on the property. The application CANNOT be accepted without the property owner's signature and consent.

Exempted from Permitting Requirements:
1. Standard highway signs, street markers, or railroad crossing signs or signals, public use and semi-public use signs (authorized by the Town), and
slate department of transportation signs. No other Signs shall be permitted within the right-of-way of any street, road, or railroad,

2. Signs of a temporary nature publicizing special events, festivals, or other community activilies, All temporary signs shall be removed within two
days following the conclusion of the event or activity for which they were posted.

3. Anon-illuminated sign, either freestanding or attached, not exceeding four (4) square feet in area and pertaining only to the rent, lease, or sale of
the premises upon which it is displayed,
Permitted signs:
The following signs shall be permitted upon Council approval provided that they meet all requirements:

incidental use signs
1. Directional or information signs of a public or quasi-public nature which by tradition and precedent are identified with promoting the general welfare of the

Town of Tallulah Falls and which do not exceed fifteen (15) square feet in area, including, but not limited to, the following: The name and location of a
public bullding, youth organization, church, or meeting place of an official or civic body,

Accessory Use Signs

1. A business identification sign, either free standing or altached, not exceeding eight (8) square feet in area, on which the name and nature of a business
operated on the premises as an accessory use are shown,

Principal Use Signs

1. A business identification sign, either freestanding or attached, not exceeding fifty (50) square feet in area, on which the name and nature of the business
operated on the premises as the principal use are shown,

2. Aitached signs within fifty (60) feet of the front fot line of the premises with a total sign area not exceeding five (5) percent of the area of the buitding wall
to which the sign or signs are atlached, When a sign is located more than fifly (50) feet from a front lot line of the premises, the percentage of total sign area
in relation to the area of the wall to which the sign or signs are attached shall be determined from the following schedule:

Ratio Between Setback and Sign Area
Setback in Feet Percent of Total Sign Area

50—100 7.6
100-—150 10.0
450—200 15.0
200 or more 20,0

3. Marquee or projecting signs which overhang a sidewalk, driveway, or other passageway used by either pedestrians or automotive vehicles and those
which project more than twelve (12) inches over publicly-owned properly shall be permitted only upon approval of the planning commission and the town
council, Such signs must meet the same sign area-wall ratio of other lypes of allached signs.

Sign restrictions
1. To keep the town from clutter, a 40-foot buffer zone for signs shall be established on each individual parcel of property, excluding signs erected by the
town. For reasons of safety, the following restrictions shall be observed in the constriction, erection and maintenarice of signs:
2, No flashing, intermittent or rotating lights shall be used on any sign or structure. No portable illuminated signs shall be permitted except temporary
special event, festivals, or other community activities,
. Any Illuminated sign or structure shall be placed so thal the rays and illumination therefrom shall not be cast upon neighboring dwellings.
. No sign shall be placed where it will interfere with vision clearance along any highway, street or road or obstruct the vision of either drivers or pedestrians
at intersections of roads, slreets, highways, alleys, or railroad crossings. 5.

5. No sign shall be erected, constructed or maintained so as to obstruct any fire escape or any window or door or opening used as an entrance or exit of a
building or a means of ingress or egress for firefighting purposes. No sign shall be attached in any form, shape, or manner to a fire escape or be so
placed as to interfere with any opening required for legal ventilation,

6. No sign shall be painted on or affixed to any natural feature such as trees and rocks,

7. No political signs shall be erected or placed on any properly except private authorized property.

8. No sign height shall be greater than 20 feet from the base of the sign or 20 feet from the right-of-way, whichever is higher.

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DOT 7418

DEPARTMENT OF TRANSPORTATION
STATE OF GEORGIA

ATLANTA, GEORGIA (OR DOT USE ONLY)

State [Highway
No. SR 15

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Milepost No. >: ee
Comy Habersham

Parmit No, $Z-1 3/-002000-1

APPLICATION AND PERMIT FOR AUTOMATED TRAFFIC ENFORCEMENT SAFETY DEVICES (ATESD)

TO: GEORGIA DEPARTMENT OF TRANSPORTATION/TRAFFIC MANAGEMENT CENTER
935 UNITED AVE,, SE, BLDG, 24, ATLANTA, GEGRGIA 30316

‘all MG -754-
Application is hereby made for Tallulah Falls Middle School 706-754-0400 2
Name of School (Arca Code) Phone
, Tallulah Falls School System 706-754-0400
y 2
Governing Agency (Area Code) Phone
201 Campus Drive / P.O, Box 10 Tallulah Falls, GA 30573
Post Oflice Address / City and State Zip Code

for permission to accomplish work on the Right-of Way of STATE HIGHWAY NO. SR 15

US dgipo3 within the Ciry Limits of Tallulah Falls _ andin Habersham County,
purstant (0. O.0G A, Sec. 40-1de] 8 and in Accordance with nnd subject to the ATTACHED DESIGN, Chante 672 of the Rules and
Rogulations of the Georgin Department of Transportation and the Georgin Department of Transportation Regulations tir Driveway aad
Encroachment Control, all made a part hereto by reference thereto, and any SPECIAL REQUIREMENTS set forth horain,

i
he ATESD will operate one hour before instructional classes posi at 4 -00 Am until one hour afer such
instructional classes have concluded at xi00 An _ for the dismissal of schaul Monday through Friday,
ue Bs .
Permit requested this Lg” day ‘of i UJ au . 120 Ad
By vn C4, Qeeuea !
— a Sipiatius Cc)

Lavery B. Peevy oe
, Reda poh : Co. a ~beone
‘Title Presiden} & Head af Qebvae TA Utah { ATL Ne bool

Goveming Agency or Official for Applicant \

TY

FORM [0 BE COMPLETED BELOW THIS. LINE BY GEORGIA DEPARTMENT OF TRANSPORTATION

SPECIAL REQUIREMENTS: (by GDOT only)

PERMIT GRANTED to perform the above-described work in accordance with REQUIREMENT] S of the Georgia Department
of"Transportation; this 22nd dayor December 20 21,

DEPARTMENT OF TRANSPORTATION

STATE OF GEORGIA
By sO GER

Jason Dykes, PE

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Exhibit I
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AgencyOR: GA 0250100
12/16/2019

Nlets
1918 W. Whispering Wind Dr,
Phoenix, AZ 85085

Attn: Steven E. Correll, Executive Director of Nlets
Re: Authorization for Blue Line Solutions, LLC to Perform MVD Inquiry

Dear Mr, Correll;

Please accept this letter of acknowledgement that a contract to perform automated enforcement
between the Chatham County Police Department and Blue Line Solutions, LLC is or will be
enacted and will be or is in force. As a requirernent of and in performance of that contract
between the Chatham County Police Department and Blue Line Solutions, LLC, it will be
necessary for Blue Line Solutions, LLC to access Nlets motor vehicle data on our agency’ s
behalf.

Please accept this letter as authorization from Blue Line Solutions, LLC for the Chatham County
Police Departiient to run motor vehicle inquities for this purpose. This authorization will
automatically expire upon the termination of the contract between the Chatham County Police
Department and Blue Line Solutions, LLC; and, such authorization is limited to violations
detected by the automated enforcement camera systems. By completing the information below
and signing this letter, 1 am stating that I am a member of the Chatham County Police
Department and have the-authority to empower Blue Line Solutions, LLC to use GA 0250100 ta
authorize access to Nlets for this function.

SUBSCRIBER INFORMATION
Subscriber AgencyiName Chatham County Police Departmeint
Niefs Agancy ORI GA 0230100 _
Name/Title of Authorized Representative Terry Shoop / Assistant Chief of Police
Mailing Address 295 Police. Memorial Drive

Savannah, Georgia 31405

Telephone (912) 652-6984 _ Fax _(912) 652-6974
Email tdshoop@chathamcounty.org_

Signature of Authorized Representative
Date Signed

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AUTOMATED SPEED ENFORCEMENT SYSTEM AGREEMENT

THIS AGREEMENT made this lie day of Deceahy2019, between Blue Line Solutions, LLC (herein
“BLS”), and the Chatham County, GA (herein “County,”) a County of the State of Georgia.

WITNESSED:

WHEREAS, BLS has the legal possession and processes, referred to collectively as ‘the
“Automated Speed Enforcement System” (herein “ASE System”), and

WHEREAS, County desires to use the ASE System to monitor excessive speeding
Infractions and other potential traffic violations, issue traffic notices of violations and évaluate
traffic movement and safety, affirms it has no other such equipment or service provider, atid has
the right, power and authority to execute this Agreement.

NOW THEREFORE, the parties agree:
As used in this Agreement, the following words and terms shall apply:

“Notice of Liability” means.a notice of liability issued by a compétent state or authorized
law enforcement agency or by a court of competent jurisdiction relating to an infraction
evidenced by the ASE System.

“Person” or “persons” means any individual, partnership, joint venture, corporation,
trust, unincorporated association, governmental authority or political subdivision thereof or any
other form of entity.

“ASE System” meats Automated Speed Enforcement System, described as photographic
traffic monitoring devices capable of accurately detecting a traffic infraction and recording such
date with images of such vehicle. Each ASE system will contain a minimum of one LIDAR/camera
for each lane of travel in which eriforcement is conducted.

“Violation” means failure to obey an applicable traffic law or regulation, including,
without limitation, operating a motor vehicle ih excess of the posted speed limit.

2: BLS AGREES TO PROVIDE:
The scope of work identified tn Exhibit A,
3. County AGREES TO PROVIDE:

The scope of work identified in Exhibit B.

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A. TERMS AND TERMINATION

a. The term of this Agreement shall be for 4 (four) years beginning on the date of the first
notice of a liability is issued and payable and may be autornatically extended for three additional
2 (two) year period at the sole option of County. Either party may terminate this Agreement at

the expiration of any term providing written notice of its intent not to extend the Agreement at
least thirty (30) days prior to the expiration of the current term.

Either party shail have the right to terminate this Agreement by written notice:
i) Atany time during the term of this agreement without cause with 30-day notice;
ii) If applicable law is changed so as to prohibit or substantially interfere with the operation
or feasibility of the ASE System or the parties’ obligations under this Agreement;
iii) For cause, by either party where the other party fails in any material way to perform its
obligations under this Agreement. Termination under this subsection may occur if the
terminating party notifies the other party of its intent to terminate, Stating the specific

grounds therefore, and the other party fails to cure the default within sixty (60) days after
Teceiving notice. .

b, Upan any termination of this Agreement, the parties recognize that BLS.and County will
use its best efforts ta continue to process any and all pending and legitimate traffic law violations.
Accordingly, the parties shall have the following obligations which continue during the
termination process: County shall cease using the ASE System, shall allow BLS to retrieve all
equipment to BLS within a reasonable time not to exceed 30 days, and shall not generate further
images to be processed. Unless reasonably agreed upon otherwise by both parties, BLS and
County shall continue to process all images and notices of violation that occurred before
termination in accordance with this Agreement and BLS shall be entitled to all Fees specified in
the Agreement as if the Agreement were still in effect.

c. Notwithstanding any provision to the contrary this Agreement terminates automatically
upon a determination by any Court of jurisdiction, State or Federal, that the ASE System or the
underlying Infraction are unconstitutional, illegal or otherwise prohibited, Any legislative act,
State or Federal, which prohibits the use of the ASE System or the enforcement of the underlying
infraction, shall also automatically terminate this agreement.

5: ASSIGNMENT AND EFFECT OF AGREEMENT

Neither party may assign all or any portion of this Agreement without the prior written consent
of the other, which consent shall not be unreasonably withheld or delayed; provided, however,
the County hereby acknowledges that the perforrnance of BLS’s equipment and obligations
pursuant to this Agreement require a significant investment by BLS, and that, in order to finance
such investment, BLS may be required to énter into certain agreements or

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arrangements with financial institutions or other similar entities. The County hereby agrees that
BLS shall have the right to assign or pledge its rights under this Agreement in connection with any
financing subject to the County’s prior written approval, which approval shall not be
unreasonably withheld or delayed. The County further agrees that in the event BLS provides
written notice to the County that it intends to assign or pledge its rights pursuant to this
Agreement, and in the event that the County fails to provide such approval or fails to object
within thirty (30) days after its receipt of such notice from BLS, then BLS shall be free to effect
such transaction.

This Agréement shall inure to the befiefit of and be binding upon all of the parties hereto and
their respective executors, administrators, successors and assigns as pérmitted by law.

6. FEES AND PAYMENT

County shall pay BLS for all equipment, services and maintenance based on the Service Fee
schedule indicated in Exhibit C.

BLS shall collect and accumulate all payments to County on a monthly basis and provide proper
payment to County on or before the 15" day of the followirig month. County shall forward to
BLS ahy payments received by County directly from vielators within three (3) days of receipt, in
order for BLS to process and reconcile all payments due and owing under this Agreement.

7. AVAILABILITY OF INFORMATION

BLS agrees that all relevant information obtained by BLS through operation of the ASE System
shall be made available to County at any time during BLS’s normal working hours upon
reasonable notice, excluding trade secrets and other confidential or proprietary information not
reasonably necessary for the prosecution of notices of violation or the fulfillment of BLS’s
obligations to County under this Agreement.

8. CONFIDENTIAL INFORMATION

No information provided by BLS to County will be of a confideritial nature, unless specifically
designated in writing as proprietary and confidential by BLS, Provided, however, nothing in this
paragraph shall be construed contrary to the terms and provisions of any “Opén Records Act” or
similar laws, insofar as they may be applicable.

3. OWNERSHIP OF SYSTEM

It is understood by the County that the ASE System, and all associated hardware and software
being provided by BLS is, and shall remain, the sole property of BLS, unless separately procured
by County. The ASE System is being provided to County only pursuant to the terms of this
Agreement. County agrees that it shall not make any modifications to BLS’s equipment, nor
disassemble or perform any type or reverse engineering to the ASE System, nor infringe on any
property or patent rights, nor cause or allow any other Person to do any of the foregoing.

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10, = LIMITED LIABILITY

Notwithstanding anything to the contrary in this Agreement, neither party shall be liable to the
other, by reason of any representation or express or implied warranty, condition or other term
or any duty at common or civil law, for any indirect, incidental, special, lost profits or
consequential damages, however caused and on any theory of liability arising out of or relating
to this Agreament.

11. FORCE MAJEURE

Neither party will be liable to the other or be deemed to be in breach of this Agreement for any
failure or delay in rendering performance arising out of causés beyond Its feasonable control.
Such causes may include but are not limited to, acts of God or the public enemy, terrorism,
significant fires, floods, earthquakes, unusually severe weather, epidemics, strikes, or
governmental authority approval delays or denials. The party whose performance is affected
agrees to notify the other promptly of the existence and nature of any delay. —

12. CORRESPONDENCE BETWEEN PARTIES

All notices required to be given under this Agreement shall be deemed provided upon the date
postmarked when mailed by first class mail, or by registered mail, and addressed to the proper
party at the address set forth in paragraph 19 below.

13. DISPUTE RESOLUTION

Both parties desire all disputes arising out of or in connection with this Agreement to be resolved
through good-faith negotiations between the parties, and to be followed if necessary by
professionally-assisted mediation within 45 days. Any such mediator must be acceptable to each
party. The mediatian will be conducted as specified by the mediator and agreed upon by the
parties. The parties agree to attempt to reach an amicable resolution of the dispute. The
mediation will be treated as a settlement discussion and remain confidential. Each party will
bear its own costs in the mediation and will equally share the fees and expenses of the mediator.

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14. ADDITIONAL SERVICES

Additional systems and services provided by Blue Line Innovations Holdings may be added to this
Agreement by mutual consent of the parties in writing as an addendum to this Agreement. All
other terms ahd conditions shall remain the same. In the event the County agrees to contract for
other services provided by BLS or companies owned by Blue Line Holdings, LLC whether or not
associated with the program herein, County authorize BLS to withdraw invoiced amounts on a
one time basis, or monthly basis, whichever is chosen by the County, as payment for
products/services, Such services may include but are not limited to In-Car Video Systems, Body
Worn Cameras, Video/Evidence Storage, & Automated License Plate Recognition Systems.

15. VALIDITY AND CONSTRUCTION OF TERMS

In case any one or more of the provisions contained in this Agreement shall for any reason be
held to be invalid, illegal, or unenforceable in any respact, such invalidity, illegality, or
unenforceability shall not affect any other provision and all remaining provisions of this
Agreement shall rernain in full force and effect.

16. ENTIRE AGREEMENT

This Agreement replaces any previous agreements and discussions and constitutes the entire
agreement between the parties with respect to thé subject matters herein, No amendments,
modifications, or alterations of the terms herein shall be binding unless the same is in writing and
duly executed by the parties.

17. AUDIT RIGHTS

Each party shall have the right to audit the records of the other party pertaining to the Citations
issued pursuant to this Agreement solely for the purpose of verifying the accuracy of payments,
if any, payable pursuant to this Agreement. Anysuch audit shall be conducted upon not less than
forty-eight hours’ notice, at mutually convenient times. The cost of any such audit shall be borne
by the party requesting the audit.

18. COVENANT OF FURTHER ASSURANCES

All parties to this Agreement shall, upon request, perform any and all acts and execute and deliver
any and all certificates, instrument and other documents that may be necessary or appropriate
to carry out any of the ternis, conditions and provisians hereto of to carry out the intent of this
Agreement.

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19. NO AGENCY

The relationship between the parties shall be that of independent contractors, and the
employees, agents and servants of either party shall in no event be considered to be employees,
agents, or servants of the other party. This Agreement shall not create an agency relationship
between BLS and County and neither party may incur any debts or liabilities or obligations on
behalf of the other party, except as specifically provided herein.

20. NOTICES

Any notices or demand which under the terms of this Agreement or under any law shall be in

writing shall be made by personal service, first class mail, or by certified or registered mail to the
parties at the following address:

Notices to Blue Line Solutions
Mark Hutchinson, CEO

3903 Volunteer Dr., Suite 400
Chattanooga, TN 37416

Notices to Chatham County
Chief Jeffrey M. Hadley
295 Police Memorial Drive
Savannah, GA 31405

41. COMPLIANCE WITH LAWS

Nothing contained in this Agreement shall be construed to require the commission of any act
contrary to law, and whenever there is a conflict between any term, condition or provision of this.
Agreement and any present or future statute, law, ordinance or regulation contrary to which the
parties have no legal right to contract, the latter shall prevail, but in such event shall be curtailed
and limited only to the extent necessary to bring it within the requirements of the law, provided
itis consistent with the intent of the parties as expressed in this Agreement.

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22. STATE LAW TO APPLY

This Agreement shall be construed under and in accordance with the laws of the State of Georgia.

IN WITNESS WHEREOF, the parties have executed this Agreement as of the date accepted by
the Customer.

Blue Line Solutions, LLC. >

County Manager

wh

Approved and authorized this \\

Atta - Peg titre

County Clerk

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Exhibit A
BLS Obligations and Scopé of Work

1) BLS at the request of County shall perform an analysis on selected roadways to determine
potential violation rates arid assess the most suitable locations for the ASE System equipmenit.
2) BLS shall pravide the quantities of ASE Systems equipment as indicated on Exhibit D. Fram
time to time, the parties may agree to add or subtract the number of ASE Systems to be provided
and may modify the location(s) if the parties agree in writing.

3) BLS shall provide an automated, web-based processing program for all valid Notices of
Liability including image processing, mailing of the initial Noticé and a reminder Notice, printing
and mailing costs. The program shall be conducted in a timely manner to comply with any
applicable statute of limitation for filing notices of liability. Subject to the approval and
authorization from County, each Notice shall be delivered by First Class mail to the registered
owner within the agreed or statutory period. County shall notify BLS of any Notice of Liability
where there is no response, and a second reminder Notice, including a late fée as determined by
County, shall be sent by First Class mail after the agreed or mandated time period. Subsequent
notices or collections notification may be delivered by First Class, Certified Mail-Return Receipt
Requested, or by process servers for additional compensation to BLS as agreed by parties,

4) BLS shall provide reasonably available vehicle registration information necessary to issue
Notices of Violation resulting from the ASE System assuming BLS is authorized to receive such
registration data at no additional cost to the Customer.

5) BLS shall provide the County the ability.to view and print an Evidence Package and shall
include a set of images with related documentation for each notice of violation challenged.

6} BLS shall provide necessary training for persons designated by the County, and provide
reasonable public relations resources to County’

7) BLS shall provide an expert witness as reasonably necessary to establish judicial notice for
contested violations to establish the accuracy and technical operations of the ASE System.

8) BLS shall provide County access to an electronic file with regular updates of specific
Notices of Liability issued and shall update the status of all accounts based on the disposition
information provided by County, indicating payments received, Notices of Liability outstanding,
and cases otherwise closed, dismissed or resolved.

9) BLS shall provide to County a monthly report of ASE System results within fifteen days of
the end of each calendar manth. The report shall include the following information:

i) Total number of violation events.

ii) Total number of actionable violation events.

iit) Total number of Notices of Liability issued,

iv) Total number of Notices of Liability paid.

v) Such reparts on ongoing operations as are required, or such other reports and documents
as are mutually agreed upon between BLS and the County.

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10) BLS shall provide all routine maintenance of ASE System equipment and timely respond
to equipment repairs.

11) BLS will provide (2) radar speed signs per school zone for placement prior to enforcement
cameras.

12) BLS will provide an equal number of ALPR cameras as the fiumber of ASE systems under
this agreement at no additional charge to the County. Other systems may be purchased for areas

outside of school zones as described in Section 14 of this agreement for placement in other areas
of the county.

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Exhibit B
County Obligations and Scope of Work

1) County shall cause an authorized officer of the agency to carefully review each potential
Violation captured by the ASE System, and shall transmit an electronic signature to each Notice
of Liability approved by County. County hereby acknowledges and agrees that the decision to
issue a Notice of Liability shall be the sole, unilateral and exclusive decision of the authorized
officer in such officer’s sole discretion, and in no event shall BLS have the ability or authorization
to make a Notice of Liability decision.

2) County shall provide a judge or hearing officer and court facilities to schedule and hear
disputed citations: .
3} County shall provide customary fine collection services for all final dispositions for

contested violations, County agrees to reasonably pursue payments of valid Notices of Liability
with service of follow-up letters ar summons as required for contested violations.

4) County shall automatically transmit an electronic file in an agreed format to BLS with
monthly updates of all Notice of Liability disposition information provided by the County
indicating payments received or cases otherwise closed, dismissed or resolved for contested
violations.

5) County shall direct its departments to cooperate with BLS with respect to required system
and program implementation and provide reasonable access to County’s personnel and facilities
in order to permit BLS and County to fulfill the obligations under this Agreement.

6) The County agrees to use due diligence in working with BLS to acquire in a timely manner
any necessary permits under its control, and approvals or other necessary documentation from
the County as necessary for the operation of the ASE System.

7) Courity shall ensure the program and its enforcement procedures comply with all
applicable laws and/or policies. County shall ensure all necessary GA DOT permits, as well as,
any other necessary permits necessary to erect ASE systems in school zones are secured by school
district, County or other government agency. County will be solely responsible for all placement
of warming signs in strict compliance with DOT regulations. County shall provide any riecessary
permits at no cost to BLS.

8) County shail complete and sign letter to NLETS authorizing BLS to retrieve vehicle data
records for processing,

9) As nécessary, County shall provide assistance to BLS in obtaining access to vehicle
ownership records data, and if requested, provide a letter and support for BLS to use with
appropriate licensing bureau agencies indicating that BLS is acting as an authorized agent of
County for the purposes of accessing vehicle ownership information on behalf of County.

10) County will make available to BLS their Public Works Department, Flectricians, or other
staff to determine locations of poles, placement of poles, gaining access electricity hookup, etc.
needed. County will obtain all county, state, and. county ar special permits needed for placement
of poles, electricity or any other service needed for the installation and usage of the ASE System.
BLS with written consent may assist with installation at the County’s cost.

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11) County shall operate the ASE System each day school is in session, as authorized by law
throughout the duration of the agreement. County shall supply BLS with appropriate school
schedules and times for pre-programming of cameras for use, as provided by the school system.
12) County shall not capture infractions with ASE System outside the permitted time
according to state statute. This includes early disrnissals, show days, school cancellation, and etc.
County will have the ability to turn ASE System off during unpermitted use periods, however,
may make a written request for BLS.to turn ASE System off during unpermitted time periods.
13) County shail be responsible for reporting unpaid citations to the Department of Revenue
in accordance with statutory requirements.

44) County shall properly reimburse BLS for any damage to the ASE System caused by County,
its employees or authorized agents.

15) County shall issue a letter to BLS showing its authorized use for pole identified for ASE
System to be mounted.

16) County shall provide a project manager or other designated induvial with authority to
execute County’s responsibilities under the Agreement

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Exhibit C
Service Fees

The County agrees to pay BLS the Fee(s) as itemized below:
Revenue of paid Notice of Liability shall-be shared between the twe parties:

The County’s portion shall be 65% of all paid Notice of Liabilities and BLS’s portion shall

be 35% of all paid Notice of Liabilities. No fees or charges will be assessed to the agency
for hon-paid violations,

BLS provides all ASE equipment, installation, wireless integration, & infrastructure. ASE
system equipment and installation costs are recovered by BLS in 24 equal monthly
installments from net revenue generated and apportioned to BLS from revenue share
beginning from the first revenue disbursement to the County from each ASE system. In
the event the agreement is terminated by the County as allowed by Section 4.4, prior to
full recovery of equipment and installation costs, the County will be responsible for the
balance. Full payment will be due within 30 days after written termination.

Fees Charged to Violators

- Acredit card processing fee of $3.90 to he charged to the violator using a credit/debit
card (unless prohibited by state statute) for violation payment paid via the internet. The
fee will be $4.90 for credit/débit card payments processed manually for phone payments.
Such processing fees shall be collected-by BLS during payment of violation.

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Exhibit D
Number and Locations of ASE System Equipment:

The number of ASE System cameras and equipment, as well as the locations for installation will
be determined after a careful analysis by Agency and BLS personnel, considering traffic
dynamics, volume and safety assessments on the Customer's roadways. Based on such
analysis, BLS and Customer have determined the following:

(9) Niné ASE Systern(s) will be provided: Additional units may be added without contract
amendment.

\ Llu \

GA Date

Blue Line Solutions, LLC Signature . Date

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Exhibit J
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Incorporated October 7, 1885

Home Departments

Municipal Court

hours of 7:00 a.m. and 4:00 p.m.

The School Zone is located on US 23/ US 441/SR 15 in
Tallulah Falls near the Tallulah Falls Middle School and the
Tallulah Falls High School. The speed limit through this area is 45
mph at all times: There is not a reduction in speed during school
zone hours. The speed limit remains 45 mph throughout town on
the main highway until you see the speed change north of the
traffic light at Yane Hurt Yarn Rd. or south of the Victory Home
and the city limit line.

by visiting www.violationpayment.net. | here will be a nominal
processing fee to pay using a card.

You will need your citation/notice number and plate number.

Please note: We cannot accept payment at City Hall

Licensing & Permits

Meetings & Documents Bulletins Organizations Attr

Photo Enforced School Speed Zone
Citation Information -
Effective September 7, 2022

All questions concerning these citations should be
directed to 1-855-252-0086.

If you have received a photo speed school zone
violation, you may use any of the following methods to
pay. Please note: We cannot accept payment at City
Hall and have no way to apply a payment to your
account.

You may call the payment processing center at 855-
252-0086 to speak with an agent and pay with a debt or
credit card. (There will be a nominal processing fee to
do so.)

Business hours are: Monday - Friday, 9 am to 5
pm EST.

You may also mail a check or money order payment to
the processing center listed on your citation. In order to
receive proper credit, it is very important to note that
payment must be mailed to the address listed on the
citation, made online at www.violationpayment.net or
paid by phone with the processing center at 1-855-252-
0086. Please be aware that the processing center is
located in Chattanooga, TN.

-and Click “Contest Your Citation”. City Hall does not

process payments or requests for administrative
hearings.

Please Note: If mailing a payment, envelope must be
postmarked within 2 days of your due date. DO NOT
MAIL CASH.

action
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Violation Payment

Home

Pay/View
Citation

Hours of
Operation

Transfer
Citation

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VIKINGCLOUCY Call With Ques
OD | ETP e
Contest FAQ, Terms &
Your Cond.

Citation |

TrueBlue School Zone Safety Program - Striving For Zero

Thank you for visiting the Violation Payment page.

Police Agencies throughout the country are using photo speed enforcement

equipment in an effort to reduce the number of crashes, injuries, and fatalities,
especially in school zones.

Approximately 33% of fatal vehicle crashes nationwide are caused by speeding.
Please slow down, don't text while driving, and don't drink and drive.

If you received notice of a speeding violation by a law enforcement agency and were directed to this websit
violation. You may also use a debit or credit card to pay your citation. Please see payment options below.

If you did not receive a photo speed violation or if you received one in any other state other than GA, IA, TN.

you.

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 pwmencer Call With Ques
. QD | Bee
Violation Payment
Home Pay/View Hours of Transfer Contest F.A.Q. Terms &
Citation Qperation Citation Your Cond.

Citation

TrueBlue School Zone Safety Program - Striving For Zero

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TrueBlue School Zone Safety Program - Striving For Zero

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Police Agencies throughout the country are using photo speed enforcement

equipment in an effort to reduce the number of crashes, injuries, and fatalities,
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Approximately 33% of fatal vehicle crashes nationwide are caused by speeding.
Please slow down, don't text while driving, and don't drink and drive.

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Look at the NOTICE NUMBER at the top right hand corner of your citation. The NOTICE NUMBER will s
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Please call us at 855-252-0086 of you have questions. Please note: office hours are Monday - Frid

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